









Dismissed and Memorandum Opinion filed May 4, 2006









Dismissed and Memorandum Opinion filed May 4, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00191-CV

____________

&nbsp;

MICAELA BENJAMIN,
Appellant

&nbsp;

V.

&nbsp;

JAMES ENG, JR.,
Appellee

&nbsp;



&nbsp;

On Appeal from the 247th District
Court

Harris County ,
Texas

Trial Court Cause No.
04-24069

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

This appeal is from a judgment signed December 20, 2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On April 6, 2006, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P.
37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 4, 2006.

Panel consists of Justices
Anderson, Edelman, and Frost.

&nbsp;





